                Case 19-10655-JKO                     Doc 10         Filed 02/11/19              Page 1 of 14




                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA


IN RE:
                                                                                   CASE NO. 19-10655-JKO
CONSUMER ADVOCACY CENTER, INC.
                                                                                   CHAPTER 11 PROCEEDING
         Debtor


                  MOTION FOR AUTHORITY TO RETAIN ATTORNEY FOR
                              DEBTOR-IN-POSSESSION

         CONSUMER ADVOCACY CENTER, INC., Debtor-in-possession, ("Debtor"), respectfully

files this Motion for Authority to Retain Attorney for Debtor-in-possession, and requests an Order

of the Court authorizing the employment of BRIAN S. BEHAR of the law firm of BEHAR, GUTT

& GLAZER, P.A., to represent the Debtor in this case, and states:

         1.        On January 16, 2019, the Debtor filed a Voluntary Petition under Chapter 11 of the

United States Bankruptcy Code.

         2.       The Debtor desires to employ BRIAN S. BEHAR of BEHAR, GUTT & GLAZER,

P.A., as attorney in this case.

         3.       The Debtor believes that the attorney is qualified to practice in the Bankruptcy Court

and is qualified to advise the Debtor on its relations with, and responsibilities to, the creditors and

other interested parties.

         4.       The professional services the attorney will render are summarized as follows:

                  a.         To give advice to the Debtor with respect to its powers and duties as a

                             debtor-in-possession, and the continued management of his business

                             operations and property;

                  b.         To advise the Debtor with respect to its responsibilities in complying with

                             the United States Trustee's Operating Guidelines and Reporting

                             Requirements and with the rules of the Court;

                   BEHAR, GUTT & GLAZER, P.A. DCOTA. SUITE A-350, 1855 GRIFFIN ROAD, FORT LAUDERDALE, FLORIDA 33004
   DADE: 305-931-3771 • BROWARD: 954-733-7030 • PALM BEACH: 561-347-7160 • DADE FAX: 305-931.3774 • PALM BEACH FAX: 561-347-7164
                Case 19-10655-JKO                     Doc 10            Filed 02/11/19            Page 2 of 14




                                                                  -2-

                   c.         To prepare motions, pleadings, orders, applications, adversary proceedings,

                              and other legal documents necessary in the administration of the case; and

                   d.         To protect the interests of the Debtor with its creditors in the preparation of

                              a Plan.

          5.       To the best of Debtor's knowledge, neither said attorney nor said law firm have any

connection with the creditors or other parties in interest or their respective attorneys. Neither,

BRIAN S. BEHAR nor BEHAR, GUTT & GLAZER, P.A. represent any interest adverse to the

Debtor.

          6.       Attached to this Motion is the proposed attorney's Affidavit demonstrating BRIAN

S. BEHAR and BEHAR, GUTT & GLAZER, P.A. are disinterested as required by 11 U.S.C.

§327(a).

          WHEREFORE, the Debtor respectfully requests that this Court consider the instant motion,

and that the Court enter an Order authorizing the immediate retention of BRIAN S. BEHAR and

the law firm of BEHAR, GUTT & GLAZER, P.A. on a general retainer, pursuant to 11 U.S.C. §330.

DATED: February 2019    /(
                                                              CONSUMER ADVOCACY CENTER, INC.


                                                              By:
                                                                         ALBERT KIM


                                                              Its:      President




                  BEHAR, GUTT & GLAZER, P.A. DCOTA, SUITE A-350, 1855 GRIFFIN ROAD, FORT LAUDERDALE, FLORIDA 33004
   DADE: 305-931-3771 • BROWARD: 954-733-7030 • PALM BEACII: 561-347-7160 • DADE FAX: 305-931-3774 • PALM BEACII FAX: 561-347-7164
                   Case 19-10655-JKO                            Doc 10      Filed 02/11/19      Page 3 of 14




                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA


IN RE:
                                                                                    CASE NO. 19-10655-JKO
CONSUMER ADVOCACY CENTER, INC.
                                                                                    CHAPTER 11 PROCEEDING
         Debtor


                           AFFIDAVIT OF PROPOSED ATTORNEY FOR DEBTOR

STATE OF FLORIDA
                  ) ss:
COUNTY OF BROWARD )

         ON THIS DAY personally appeared before me, BRIAN S. BEHAR, who is personally known
to me and who did take an oath, and states as follows:
         1.         I am an attorney admitted to practice in the State of Florida and the United States
District Court for the Southern District of Florida. I am in compliance with the additional
qualifications to practice in this Court set forth in Local Rule 2090-1(A).
         2.         I am a member of the law firm of BEHAR, GUTT & GLAZER, P.A. with offices
located at DCOTA, Suite A-350, 1855 Griffin Rd., Ft. Lauderdale, FL 33004.
         3.        Neither I, nor BEHAR, GUTT & GLAZER, P.A., represent any interest adverse to the
Debtor or the estate, and we are disinterested persons as required by 11 U.S.C. §327(a).
         4.        Affiant has never represented the Debtor in any matter prior to the instant chapter 11
case. Except for the continuing representation of the Debtor, neither I, nor the firm, has or will
represent any other entity in connection with this case and neither I, nor the firm, will accept any fee
from any other party or parties in this case, except the debtor-in-possession, except as set forth in this
paragraph.
         5.    Attached to this Affidavit is a true copy of the reta" 'er agreeme r t executed by the Debtor
and my firm, with respect to the representation of the De
                                                           FURTHER



         SWORN__TO. AND SUBSCRIBED before me this n          day of-- iCAT)r\             , 2019,
by `N-D1—                      who is personally known_to_me or produced
                                              as 'dentification and who did (did not) take an
oath.

                                            JEAN M. BARRETO
                                ..„.; MY COMMISSION # GG 183682             NOTARY PUBLIC
                                       EXPIRES: February 19, 2022
                      •. 0.ig-`30   Bonded Thu Notary Public Underwriters
My commissio


                    BEHAR, GUTT & GLAZER, P.A. DCOTA, SUITE A-350, 1855 GRIFFIN ROAD, FORT LAUDERDALE, FLORIDA 33004
    DADE: 305-931-3771 • BROWARD: 954-733-7030 • PALM BEACH: 561-347-7160 • DADE FAX: 305-931-3774 • PALM BEACH FAX: 561-347-7164
                     Case 19-10655-JKO     Doc 10     Filed 02/11/19      Page 4 of 14




                                              LAW OFFICES

                              BEHAR, GUTT & GLAZER,                P.A.
                                          1855 GRIFFIN ROAD
                                             DCOTA A-350
                                   FORT LAUDERDALE, FLORIDA 33004




                                                                                 BROWARD:          (954) 733-7030
BRIAN S. BEHAR*                                                                  DADE:             (305) 931-3771
IRA GUTT                                E-MAIL: bsb@bgglaw.com                   DADE FAX:         (305) 931-3774
DAVID L. GLAZER**
ROBERT J. EDWARDS                                                                PALM BEACH:       (561) 347-7160
DANIELLE S. FEUER                           www.bgglaw.com                       PALM BEACH FAX:   (561) 347-7164


CHARLES BLAKE DYE***
MARIBEL DIAZ
STACEY GLADDING

• ALSO ADMITTED IN NY & NJ
•• RETIRED
••• ALSO ADMITTED IN IL



                                          December 6, 2018

    Via E-Mail:

    Consumer Advocacy Center Inc.
    173 Technology Drive
    Suite 202
    Irvine, CA 92618

    Re:       Chapter 11

    To Whom It May Concern:

           Although we do not wish to be overly formal in our relationship with you, we have
    found it a helpful practice to confirm with clients the nature and terms of our representation.
    You have engaged us to represent your company in connection with the above-referred
    matter. Our representation will begin upon receipt of the retainer discussed below in
    cleared funds and, of course, is terminable at will by either you or us, subject to your
    payment of all fees, for services performed and costs advanced through the date of
    termination.

           For purposes of this Retainer Agreement, Counsel shall represent Client as to the
    matter(s) as described above. The legal services to be provided by Counsel shall include
    drafting all legal documents, legal research, and all related work required to properly
    represent Client in the matter. Counsel does not guarantee or predict the outcome or result
    of the matter.
                   Case 19-10655-JKO                     Doc 10         Filed 02/11/19              Page 5 of 14




Consumer Advocacy Center Inc.
December 6, 2018
Page #2



1         Counsel will review, prepare, negotiate, and revise all documentation related to the
          matter. Client shall provide Counsel with all documents which describe specifically
          and in general terms the matter and shall identify to Counsel all persons who are
          expected to be involved in the matter and their various legal, accounting and other
          relevant representatives.

2.        Client and Counsel agree that Counsel's fee shall be based on the standard hourly
          rates for individual attorneys and professionals currently associated with Counsel.
          The hourly rates are subject to change from time to time and Counsel agrees to
          promptly notify Client of such changes. The hourly rates for professionals presently
          associated with Counsel are currently as follows:

                                Brian Behar:                               $425.00
                                Ira Gutt:                                  $425.00
                                Robert J. Edwards:                         $425.00
                                Associates:                                $350.00


          The hourly rates referenced above do not include the other fees, charges and
          expenses described herein.

          Fees for Counsel's professional services shall be billed monthly. Other fees, charges
          and expenses paid by Counsel for Client in regard to the matter will be billed
          monthly to Client together with the billings for fees. The billings shall include
          applicable sales taxes, if any.

          The hourly rate includes time spent for conferences, telephone, drafting,
          negotiations, research, and travel, if needed. You will not be billed for secretarial
          time, except for secretarial overtime necessitated by the matter. It is the practice of
          our office to charge not less than two-tenths (2/10) of an hour for each telephone
          call, no matter how short its duration, and such additional time as may actually be
          expended whether the telephone calls are from or to you or others concerning your
          matter. Our fees and costs are not contingent upon their deductibility for the
          purposes of any tax return.

3.        We shall have the authority to expend and advance costs on behalf of the Client.
          Cost include long-distance telephone calls, telefaxes, postage, photocopies,
          deposition and transcript expenses, court costs, courier and messenger services,
          charges for serving and filing papers, overnight delivery services, recording and
          certifying costs for documents.




                 BEHAR, GUTT & GLAZER, P.A.          1855 GRIFFIN ROAD, DCOTA tto-350, FORT LAUDERDALE, FLORIDA 33004
BROWARD: 954.733-7030 • MIAMI-DADE: 305-931-3771 • PALM BEACH: 561-347-7160 • MIAMI-DADE FAX: 305-931-3774 • PALM BEACH FAX: 561-347-7164
                   Case 19-10655-JKO                     Doc 10          Filed 02/11/19             Page 6 of 14




Consumer Advocacy Center Inc.
December 6, 2018
Page #3



          Client authorize Counsel to retain and agree to pay the fees or charges of every other
          person or entity hired by Counsel to perform necessary services related to the matter.
          Such other persons and entities may include, but are not limited to, court reporters,
          escrow agents, accountants, investigators, expert witnesses, trust officers, and other
          attorneys hired for ancillary matters or matters requiring Counsel in other localities.
          Client authorize Counsel, in Counsel's discretion, to direct such other persons and
          companies to render statements for services rendered and expenses advanced either
          directly to Client or to Counsel, in which event Client agree to promptly reimburse
          Counsel for the full amount of such statements. You shall keep payment current on
          all advances.

          In accordance with our standard procedures, we will bill you monthly for legal
          services rendered and out-of-pocket costs incurred on your behalf during the
          immediately preceding month. Our monthly statements to you will summarize each
          matter for which legal services were rendered and the fee charged for the matter.
          Also, the statement will include an itemized description of out-of-pocket costs
          advanced by us on your behalf, and will be forwarded to the address above.

          Payment is due in full when you receive the statement. However, if payment is not
          remitted within fifteen (15) days from the date of the billing statement, we will bill
          you for an interest charge at the rate of one percent (1%) per month from the
          fifteenth (15th) day after the date of the billing statement until paid. We are
          available to discuss the status of your account at all times and would like you to feel
          free to get in touch with us if you have questions concerning the account.

4.        Counsel agrees to assert a diligent effort to assure that Client is informed at all times
          as to the status of the matter and as to the courses of action which are being
          followed, or are being recommended, by Counsel. Counsel agrees to provide to
          Client all written materials sent or received by Counsel pertaining to the matter,
          which copies shall be provided to Client at the time the materials are sent or
          received. All of Counsel's work product shall be owned by Counsel.

          We would also like to note some aspects of the professional ethics that will govern
          our representation. As a matter of professional responsibility, we are generally
          required to preserve the confidences and secrets of our Client. This professional
          obligation and the legal privilege for attorney-Client communications exist to
          encourage candid and complete communication between a Client and its lawyer. We
          can perform beneficial services for you only if we are aware of all information that
          might be relevant to our representation. Consequently, we trust that our attorney-
          Client relationship with you will be based on mutual confidence and unrestricted
          communication that will facilitate our proper representation of your interests.



                BEHAR, GUTT & GLAZER, P.A.           1855 GRIFFIN ROAD, DCOTA HA-350, FORT LAUDERDALE, FLORIDA 33004
BROWARD: 954-733-7030 • MIAMI-DADE: 305-931-3771 • PALM BEACH: 561-347-7160 • MIAMI-DADE FAX: 305-931-3774 • PALM BEACH FAX: 561-347-7164
                   Case 19-10655-JKO                     Doc 10          Filed 02/11/19             Page 7 of 14




Consumer Advocacy Center Inc.
December 6, 2018
Page #4



           We invite you to discuss freely with us any questions you may have concerning our
           understanding relative to the fee arrangement or to particular fees charged for any
           matters.

           We want you to be satisfied with both the quality of our legal work and the
           reasonableness of the fees we charge for those services. We have found that an
           engagement letter that confirms the general scope of the representation and outlines
           the fee and cost arrangements assists both the lawyer and the Client in dealing with
           the business side of their relationship while preserving a good working relationship
           with respect to the representation of the Client.

5.        Client and Counsel agree that an initial refundable retainer is due and payable upon
          return to Counsel of an executed copy of the agreement. SUCH INITIAL
          REFUNDABLE RETAINER SHALL BE IN THE AMOUNT OF THIRTY ONE
          THOUSAND ONE HUNDRED SEVENTY ONE DOLLARS AND 00/XX
          ($31,171.00) AS AN ADVANCE AGAINST COUNSEL'S FEES FOR SERVICES
          RENDERED IN THIS MATTER. In addition, if Client do not pay the full amount
          of any bill, and Counsel must enforce collection, Client agree to pay all legal fees
          and costs, including attorneys fees at trial and on appeal, incurred by Counsel (either
          for its own attorneys at the normal hourly rates or outside Counsel which Counsel
          may choose to retain) in such action. Client understand that the initial retainer paid
          is an advancement of fees and cost, and does not represent the maximum cap on fees
          and costs, which could exceed the retainer so paid.

          The Firm reserves the right to request from the Client replenishment of the retainer
          fee paid herein, when the amount held by the Firm as the retainer is depleted and the
          amount remaining in the trust account of the Firm is at an amount of no more than
          25% of the original retainer amount. Failure of Client to replenish the trust account,
          after five (5) business days from the request to replenish, will constitute a default
          under the retainer agreement, and will serve as a basis for the Firm to seek to
          withdraw further representation of the Client, and for the Firm to take all appropriate
          steps to protect any outstanding fees and costs due to the Firm, as such steps are
          allowed pursuant to this agreement and applicable Florida law.

6.        We shall have the right to withdraw from representing you if you (a) do not make
          any payment required, (b) have misrepresented or failed to disclose material facts,
          or © fail to follow our advice. In any of these events, you will execute such
          necessary documents as will permit us to withdraw.




               BEHAR, GUTT & GLAZER, P.A. 1855 GRIFFIN ROAD, DCOTA /1A-350, FORT LAUDERDALE, FLORIDA 33004
BROWARD: 954-733-7030 • MIAMI-DADE: 305-931-3771 • PALM BEACH: 561-347-7160 • MIAMI-DADE FAX: 305-931-3774 • PALM BEACH FAX: 561-347-7164
                   Case 19-10655-JKO                     Doc 10          Filed 02/11/19              Page 8 of 14




Consumer Advocacy Center Inc.
December 6, 2018
Page #5



7.         Counsel reserves the right to withdraw from the matter at any time if the Client fails
           to honor this agreement or for any just reason as permitted or required under the
           Florida Rules of Professional Conduct or as permitted by the appropriate Rules of
           Court. Notification of withdrawal shall be made in writing to Client. In the event
           of such withdrawal, Client agrees to promptly pay Counsel for all services rendered
           by Counsel and all other fees, charges and expenses incurred pursuant to this
           agreement prior to the date of such withdrawal.

8.         This agreement contains the entire agreement between Client and Counsel regarding
           the matter and the fees, charges and expenses to be paid relative thereto. This
           agreement shall not be modified except by written agreement signed by Client and
           Counsel. This agreement shall be binding upon Client and Counsel and their
           respective heirs, executors, legal representatives, successors, and assigns.

9.         To protect our attorney's fees and costs until they are paid, we shall be entitled to
           an attorney's charging and/or retaining lien on all real and personal property which
           we recover, retain, preserve and/or protect for you. In the event we are discharged
           or are required to withdraw before the completion of any lawsuit that is filed, we
           shall be entitled to a retaining lien, a charging lien and to obtain a Court order
           protecting our right to a charging lien and/or to bring independent action, as well as
           to proceed in the same action, to enforce our charging lien.

10.        You acknowledge that we have made no guarantees in the disposition of any phase
           of the matter, and that all expressions relative to it are only our opinions. If you
           have previously retained other Counsel in this matter, then you represent to us now
           that you have discharged said Counsel and that no monies and/or other obligations
           are owed to said Counsel which would interfere with, preempt or preclude the
           fulfillment of any of your obligations under this agreement.

11.       Email Communications. Counsel does not encrypt email and other electronic media
          communications to its Client except as required by federal and state law and
          regulation. By signing this Agreement, Client acknowledges that the Firm does not,
          unless as noted above, encrypt such communications and waives any right to
          encrypted communications.

12.       Retention of Documents. In the course of Counsel's representation of Client,
          Counsel is likely to come into possession of various documents and materials which
          Florida law recognizes are Client' papers and property. Such papers and property
          may include correspondence, pleadings, deposition transcripts, exhibits, physical
          evidence, expert's reports, and other items reasonably necessary to the
          representation. Upon the termination or conclusion of Counsel's representation


                 BEHAR, GUTT & GLAZER, P.A.          1855 GRIFFIN ROAD. DCOTA NA-350, FORT LAUDERDALE, FLORIDA 33004
BROWARD: 954-733.7030 • MIAMI-DADE: 305-931-3771 • PALM BEACII: 561-347-7160 • MIAMI-DADE FAX: 305-931-3774 • PALM BEACH FAX: 561-347-7164
                   Case 19-10655-JKO                     Doc 10          Filed 02/11/19              Page 9 of 14




Consumer Advocacy Center Inc.
December 6, 2018
Page 5


           with respect to the matter to which such Client' papers and property relate, upon the
           Counsel identified by Client such papers and property. In the event of any such
           termination or conclusion, Counsel shall be entitled to retain a copy of any records
           or files relating to such matter. If Client do not make such a request within six (6)
           months after the conclusion of the matter to which such papers and property relate,
           then Counsel may destroy or discard such papers and property according to
           Counsel's normal document retention procedure.

Under the Firm's document retention policy, we will assume no responsibility to maintain
closed Client files and documents for more than two (2) years after the matter is closed.
Furthermore, when this matter is closed, it is your responsibility to identify any documents
in our possession of which you would like custody. By executing this agreement, you agree
to the firm's document retention policy outlined herein for all files relating to this matter,
to assume the responsibility for identifying and preserving any originals or other documents
to be delivered to you for preservation after the matter is closed, and consent to any
remaining files and documents being destroyed two (2) years after the matter is closed
without further notice.

Thanking you for selecting us as your attorneys. Please sign a copy of this Agreement and
return it to us.

           Please sign a copy of this Agreement and return it to us.

                                                                           BEHAR,              TT            AZE

                                                                           By:
                                                                                     BRIAN S. BEHAR

READ, ACCEPTED AND AGREED THIS lothDAY OF                                              December



                                                                CONSUMER ADVOCACY CENTER INC.


                                                                B:


                                                                Its: President




               BEHAR, GUTT & GLAZER, P.A. 1855 GRIFFIN ROAD. DCOTA #A-350, FORT LAUDERDALE, FLORIDA 33004
BROWARD: 954-733-7030 • MIAMI-DADE: 305-931-3771 • PALM BEACH: 561-347-7160 • MIAMI-DADE FAX: 305-931-3774 • PALM BEACH FAX: 561-347-7164
                       Case 19-10655-JKO                        Doc 10   Filed 02/11/19          Page 10 of 14




                                         UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF FLORIDA


IN RE:
                                                                                     CASE NO. 19-10655-JKO
CONSUMER ADVOCACY CENTER, INC.
                                                                                     CHAPTER 11 PROCEEDING
            Debtor


                                                     CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on February 11, 2019, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF, and that the Motion for Authority to Retain

Attorney for Debtor-in-Possession, served this day on all counsel of record or pro se parties

identified on the attached list, either via transmission of Notices of Electronic Filing generated by

CM/ECF or in some other authorized manner for those counsel or parties who are not authorized to

receive electronically Notices of Electronic Filing.


                                                                          BEHAR, GUTT & GLAZER, P.A.
                                                                          Attorneys for Debtor
                                                                          DCOTA, Suite A-350
                                                                          1855 Griffin Road
                                                                          Fort Lauderdale, Florida 33004
                                                                          Telephone: (305) 931-3771
                                                                          Fax: (305) 931-3774

                                                                          By:         /s/ Brian S. Behar

                                                                                    BRIAN S. BEHAR
                                                                                    FBN: 727131




S:\111795.01\Pleadings \Cut of Scry motion retain counscl.wpd




                BEHAR, GUTT & GLAZER, P.A. DCOTA, SUITE A-350, 1855 GRIFFIN ROAD, FORT LAUDERDALE, FLORIDA 33004
      DADE: 305-931-3771 • BROWARD: 954-733-7030 • PALM BEACH: 561-347-7160 • DADE FAX: 305-931-3774 • PALM BEACH FAX: 561-347-7164
                                  Case 19-10655-JKO      Doc 10        Filed 02/11/19    Page 11 of 14

Label Matrix for local noticing                Consumer Advocacy Center Inc.                Aaron Frey, Maine Atty General
113C-0                                         173 Tehnology Dr #202                        6 State House Station
Case 19-10655-JKO                              Irvine, CA 92618-2489                        Augusta, ME 04333-0006
Southern District of Florida
Fort Lauderdale
Tue Jan 22 16:23:53 EST 2019
Abante Rooter & Plumbing, Inc.                Alan Wilson, S.C. Attorney General            Bob Fuerguson, Attorney General
c/o Andrew Heidarpour, Esq.                   Office of Atty General South Carolina         Office of Attorney General Washington
Heidarpour Law Firm, PLLC                     1000 Assembly Street, Rm 519                  1125 Washington Street
1300 Pennsylvannia Ave, NW 190-318            Columbia, SC 29201-3117                       P.O. Box 40100
Washington, DC 20004-3002                                                                   Olympia, WA 98504-0100

Brian E. Frosh, Attorney General              Bryan A. Schneider, Secretary                 Bureau of Consumer Financial Protection
Office of Atty General State of Maryland      Illinois Division of Finance & Prof Reg       1700 G Street NW
200 St. Paul Place                            320 West Washington Street, 3rd Fl            Washington, DC 20552-0004
Baltimore, MD 21202-2004                      Springfield, IL 62786-0001


Carla Ogden                                   Carolyn Hahn, Sr. Lit Counsel                 Carolyn Hahn, Sr. Lit counsel
500 South Second St                           1700 G Street NW                              1700 G Street NW
Springfield, IL 62701-1705                    Washington, DC 20554-0001                     Washington, DC 20552-0003




Chad Ploof                                    Chancellor Leonard                            Christopher Dolejs
c/o Andrew Heidarpour, Esq.                   c/o Alex M. Washkowitz, Esq.                  c/o David Force, Esq.
HeidarpourLaw Firm, PLLC                      CW Law Group, P.C.                            Law Offices of Michael Lupolover, P.C.
1300 Pennsylvannia Ave                        488 Oaks Road                                 120 Sylvan Ave, Ste 303
Washington, DC 20004-3002                     Framingham, MA 01702                          Englewood Cliffs, NJ 07632-2505

Consumer Finanical Protection Bureau          Curtis T. Hill, Attorney General              David C. Evers
1700 G Street NW                              Office of Atty General State of Indiana       Department of Justice
Washington, DC 20552-0004                     302 W. Washington Street, 5th Floor           9001 Mail Service Center
                                              Indianapolis, IN 46204-4701                   Raleigh, NC 27699-9000


Deborah Morris, Deputy Enforcement Dir        Department of Consumer & Business Servic      Ellen F. Rosenblum, Atty General
1700 G Street NW                              Division of Financial Regulation              Oregon Dept of Justice
Washington, DC 20552-0003                     P.O. Box 14480                                1162 Court St., NE
                                              Salem, OR 97309-0405                          Salem, OR 97301-4096


Evan Romanoff                                 Federal Communications Commission              (p)FEDERAL TRADE COMMISSION
Office of the Attorney General                445 12th Street, SW                           ASSOCIATE DIRECTOR
445 Minnesota Street, Suite 1200              Washington, DC 20554-0005                     DIVISION OF ENFORCEMENT
Saint Paul, MN 55101-2130                                                                   600 PENNSYLVANIA AVE NW MAIL DROP NJ-2122
                                                                                            WASHINGTON DC 20580-0001

Gavin M. Gee, Dir of Finance                  George Jepsen, Attoney General                Gordon McDonald, Attorney General
Idaho Dept of Finance                         Office of Attorney General, Connecticut       New Hampshire Dept of Justice
800 Park Blvd, Suite 200                      55 Elm Street                                 33 Capital Street
Boise, ID 83712-7768                          Hartford, CT 06106-1752                       Concord, NH 03301-6310


Graham Sorkin                                 Greg Gonzales, Commissioner                   Jay Brodsky
2125 Delaware Ave, Suite A                    Tennessee Dept of Financial Insti             240 East Shore Road
Santa Cruz, CA 95060-5752                     312 Rosa L. Parks Ave, 26th Floor             Great Neck, NY 11023-2438
                                              Nashville, TN 37243-1102
                                   Case 19-10655-JKO      Doc 10          Filed 02/11/19   Page 12 of 14

Jeffrey Bloomfield, Attorney at Law            Jeremy Jackson                                 Joseph Bond
301 North Main Street, Ste 2400                c/o Stephen P. DeNittis                        c/o Todd M. Friedman
Winston Salem, NC 27101-3835                   DeNittis Osefchen Prince, PC                   The Law Office of Todd M. Friedman, P.C.
                                               1515 Market Street, Ste 1200                   21550 Oxnard St, Ste 780
                                               Philadelphia, PA 19102-1932                    Woodland Hills, CA 91367-7104

Josh Shapiro, Penn Attorney General            Justice Rillera                                Katrina G. Cardin
Office of Atty General of Pennsylvannia        Financial Enforcement Officer                  Consumer Protection Investigator
Strawberry Square                              350 Winter St, NE, Rm 410                      P.O. Box 8911
Harrisburg, PA 17120-0001                      Salem, OR 97301-3881                           Madison, WI 53708-8911


Kristi Thompson                                Lee R. Keith                                   Letitia James, Attorney General
445 12th Street, SW                            Missouri Division of Finance                   Office of Atty General New York State
Washington, DC 20554-0004                      Truman State Office Bldg. Rm 630               The Capitol
                                               Jefferson City, MO 65102                       Albany, NY 12224-0341


Maura Healey, Attorney General                 Melanie G. Hall, Commissioner                  Mike Devine, Attorney General
Office of Atty General of Massachusetts        Montana Div of Banking 6 Financial Insti       Ohio Attorney General
1350 Main Street, 4th Floor                    P.O. Box 200546                                30 E. Broad St. 14th Floor
Springfield, MA 01103-1664                     Helena, MT 59620-0546                          Columbus, OH 43215-3414


Office of Attorney General                     Office of the US Trustee                       Quintin Brown
1300 'I' Street                                51 S.W. 1st Ave.                               5810 Riley Street, Unit 2
Sacramento, CA 95814-2963                      Suite 1204                                     San Diego, CA 92110-1760
                                               Miami, FL 33130-1614


Ray Grace, Commission                          Ryan Sullivan                                  Scott Cameron, Senior Deputy Comm
North Caroolina Comm of Banks                  Office of Consumer Protection                  California Dept of Business Oversight
4309 Mail Service Center                       Helena, MT 59620-0151                          Financial Services Division
Raleigh, NC 27699-4309                                                                        1515 K Street, Suite 200
                                                                                              Sacramento, CA 95814-4052

Shante Willis                                  Shawna Meyer                                   State of California
45 12th Street, SW                             120 SW 10th Ave, 2nd Floor                     Attorney General Public Inquiry Unit
Washington, DC 20554-0001                      Topeka, KS 66612-1237                          Consumer Protection Division
                                                                                              P.O. Box 944255
                                                                                              Sacramento, CA 94244-2550

State of Colorado                              State of Connecticut                           State of Georgia
Phil Weiser, Attorney General                  Jorge Perez, Commissioner                      Chris Carr, Attorney General
Ralph L. Carr Judicial Bldg                    260 Constitution Plaza                         40 Capital Square, SW
1300 Braodway 10th Floor                       Hartford, CT 06103-1820                        Atlanta, GA 30334-9057
Denver, CO 80203-2104

State of Idaho                                 State of Illinois                              State of Indiana
Lawrence G. Wasden, Atty General               Office of the Attorney General                 Indiana Dept of Financial Institution
700 W. Jefferson Street                        Consumer Protection Division                   30 South Meridian St, Ste 300
Boise, ID 83720-0010                           500 South Second St                            Indianapolis, IN 46204-3509
                                               Springfield, IL 62701-1705

State of Iowa                                  State of Kansas                                State of Maine
Iowa Division of Banking                       Office of Atty General Derek Schmidt           Anne L. Head, Commissioner
200 East Grand Ave, Ste 300                    Consumer Protection Division                   Maine Dept of Proff & Finance Regulation
Des Moines, IA 50309-1827                      120 SW 10th Ave, 2nd Floor                     35 State House Station
                                               Topeka, KS 66612-1237                          Augusta, ME 04333-0035
                                Case 19-10655-JKO               Doc 10           Filed 02/11/19       Page 13 of 14

State of Maryland                                     State of Massachusetts                                State of Minnesota
Antonio P. Salazar, Commissioner                      CRA Unit                                              Office of the Attorney General
Financial Regulation                                  One South Stateion 3rd Floor                          445 Minnesota St, Suite 1200
500 North Calvert St, Ste 402                         Boston, MA 02110-2253                                 Saint Paul, MN 55101-2130
Baltimore, MD 21202-3659

State of Missouri                                     State of Montana                                      State of New Hampshire
Office of Atty General                                Montana Office of Consumer Protection                 Gerald H. Little, Commissioner
Consumer Protection Division                          P.O. Box 200151                                       New Hampshire Banking Dept
P.O. Box 899                                          Helena, MT 59620-0151                                 53 Regional Drive, Ste 200
Jefferson City, MO 65102-0899                                                                               Concord, NH 03301-8500

State of New York                                     State of North Carolina                               State of North Dakota
Maria T. Vullo, Superintendent of Financ              Department of Justice                                 Office of Attorney General
NY Dept of Financial Services                         9001 Mail Service Center                              Gateway Professional Center
One State Street                                      Raleigh, NC 27699-9001                                1050 E. Interstate Ave, Ste 200
New York, NY 10004-1511                                                                                     Bismarck, ND 58503-5574

State of Ohio                                         State of Oklahoma                                    State of Oregon
Jacqueline T. Williams, Director                      Office of Attorney General                           Department of Consumer 6 Business Servic
Ohion Dept of Commerce                                Consumer Protection Unit                             Division of Financial Regulation
77 S. High St, 21 Floor                               313 NE 21st Street                                   350 Winter St NE Room 410
Columbus, OH 43215-6120                               Oklahoma City, OK 73105-3207                         Salem, OR 97301-3881

State of Pennsylvannia                               State of South Carolina                               State of Tennessee
Robin L. Weissmann, Secretary of Banking             David Campbell, Commissioner                          Department of Commerce 6 Insurance
Market Square Plaza                                  2221 Devine Street, Ste 200                           Phyllis Jordan ASA II, Consumer Affairs
17 N. Second Street. Ste 1300                        Columbia, SC 29205-2418                               500 James Robertson Pkwy
Harrisburg, PA 17101-1642                                                                                  Nashville, TN 37243-0565

State of Vermont                                     State of Washington                                   State of Wisconsin
Molly Dillon, Deputy Comm of Banking                 Levi Clemens, Director                                Dept of Agriculture, Trade 6 Consumer
Vermont Dept of Financial Regulation                 Washington State Dept of Financial Insti              2811 Agriculture Dr.
89 Main Street                                       P.O. Box 41200                                        Madison, WI 53718-6777
Montpelier, VT 05620-3101                            Olympia, WA 98504-1200

Steve Kelly, Commissioner                            Stuart Abramson                                       Sue Reed
Minnesota Depart of Commerce                         522 Glen Arden Drive                                  Consumer Advocate
Golden Rule Bldg                                     Pittsburgh, PA 15208-2809                             120 SW 10th Ave, 2nd Floor
85 7th Place East, Suite 280                                                                               Jefferson City, MO 65102
Saint Paul, MN 55101-2143

Susan Laib                                           TJ Donovan, Vermont Atty General                      Time Kemp, Deputy Bank Commissioner
Lead Consume Special                                 109 State Street                                      State Bank Commof Kansas
313 NE 21st Street                                   Montpelier, VT 05609-0002                             700 SW Jackson St, Suite 300
Oklahoma City, OK 73105-3207                                                                               Topeka, KS 66603-3782


Tom Miller, Iowa Attorney General                    Wayne Stenehjem, Atty General                         Brian S Behar Esq
Iowa Dept of Justice                                 1050 E. Interstate Ave, Ste 200                       1855 Griffin Road, Suite A-350
Hover State Office Bldg                              Bismarck, ND 58503-5574                               Ft. Lauderdale, FL 33004-2210
1305 E. Walnut Street
Des Moines, IA 50319-0106




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
                               Case 19-10655-JKO                Doc 10       Filed 02/11/19          Page 14 of 14

Federal Trade Commission
Tara Isla Koslov, Chief of Staff
600 Pennsylvannia Ave, NW
Washington, DC 20580




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.



(u)Bob Moses                                         End of Label Matrix
                                                     Mailable recipients    86
                                                     Bypassed recipients     1
                                                     Total                  87
